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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

PATRICIA GREEN,                                  )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )      No. 3:17-cv-00649-MMH-JRK
                                                 )
EXPERT GLOBAL SOLUTIONS, INC.,                   )
                                                 )
       Defendant.                                )

                                 NOTICE OF SETTLEMENT

       Plaintiff, PATRICIA GREEN, (“Plaintiff”), through her attorney, Hormozdi Law Firm,

LLC, informs this Honorable Court that the Parties have reached a settlement in this case. Plaintiff

anticipates dismissing this case, with prejudice, within 30 days.


                                      RESPECTFULLY SUBMITTED,


July 12, 2017                         By: /s/__Shireen Hormozdi__________
                                              Shireen Hormozdi
                                              Hormozdi Law Firm, LLC
                                              1770 Indian Trail Lilburn Road, Suite 175
                                              Norcross, GA 30093
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                                CERTIFICATE OF SERVICE

        On July 12, 2017, I electronically filed the Notice of Settlement with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of Settlement to
Defense Counsel.

                                      By: /s/ Shireen Hormozdi_______________
                                              Shireen Hormozdi
